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Attorneys for Defendant, Kenneth Brown, Jr. in his official capacity as Chief of
Wall Township Police Department

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

ASSOCIATION OF NEW JERSEY | Case No.: 3:18-cv-10507 (PGS) (JBD)
RIFLE & PISTOL CLUBS, INC.,
BLAKE ELLMAN, and MARC Civil Action
WEINBERG,

Plaintiffs, CERTIFICATE OF SERVICE

Vv.

MATTHEW PLATKIN, in his official
capacity as Attorney General of New
Jersey, PATRICK J. CALLAHAN, in his
official capacity as Superintendent of the
New Jersey Division of State Police,
RYAN MCNAMEE, in his. official
capacity as Chief of Police of the Chester
Police Department, and JOSEPH
MADDEN, in his official capacity as
Chief of Police of Park Ridge Police
Department,

Defendants.

CONNELLY, and FIREARMS POLICY
COALITION, INC.

Plaintiffs,
Vv.

MATTHEW J. PLATKIN, in his official
capacity as Acting Attorney General of

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New Jersey, PATRICK J. CALLAHAN,
CHRISTINE A. HOFFMAN, BRADLEY
D. BILLHIMER, in his official capacity
as Ocean County Prosecutors,

Defendants.

ROGERS, ASSOCIATION OF NEW
JERSEY RIFLE & PISTOL CLUBS,
INC.

Plaintiffs,

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MATTHEW PLATKIN, in his official
capacity as Attorney General of New
Jersey, PATRICK CALLAHAN, in his
official capacity as Superintendent of the
New Jersey Division of State Police, LT.
RYAN MCNAMEE, in his. official
capacity as Officer in Charge of the
Chester Police Department, and
KENNETH BROWN, JR., in his official
capacity as Chief of the Wall Township
Police Department,

Defendants.

On November 2, 2023, the undersigned, a Paralegal at the law firm of Cleary
Giacobbe Alfieri Jacobs, LLC, attorneys for Defendant, Kenneth Brown, Jr. in his
official capacity as Chief of Wall Township Police Department (hereinafter
“Defendant”), caused a copy of the Defendant’s Notice of Motion for Summary
Judgment, Certification of Mitchell B. Jacobs, Esq., together with Exhibits A - E,

Brief in Support, Proposed Order, and this Certificate of Service to be filed with

4893-2508-1741, v. 1
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the United States District Court, District of New Jersey, thereby effectuating

service on all parties of record in the above-referenced matter.

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Dated: November 2, 2023 Sen ODALY Ke Q bie DD

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4893-2508-1741, v. 1
